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17
                               UNITED STATES DISTRICT COURT
18
                            NORTHERN DISTRICT OF CALIFORNIA
19
                                       OAKLAND DIVISION
20
   In re APPLE INC. SECURITIES                    ) Case No. 4:19-cv-02033-YGR
21 LITIGATION                                     )
                                                  ) CLASS ACTION
22                                                )
   This Document Relates To:                      ) LEAD PLAINTIFF’S NOTICE OF
23                                                ) UNOPPOSED MOTION AND UNOPPOSED
          ALL ACTIONS.                            ) MOTION FOR PRELIMINARY APPROVAL
24                                                ) OF PROPOSED SETTLEMENT, AND
                                                    MEMORANDUM OF POINTS AND
25                                                  AUTHORITIES IN SUPPORT THEREOF

26                                           DATE:       April 30, 2024
                                             TIME:       2:00 p.m.
27                                           JUDGE:      Hon. Yvonne Gonzalez Rogers
                                             CTRM:       1, 4th floor
28


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28 LEAD PLTF’S NOTICE OF UNOPP’D MOT AND MOTION FOR PRELIM APPROVAL OF PROP
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 1             NOTICE OF UNOPPOSED MOTION AND UNOPPOSED MOTION FOR
                  PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT
 2
              TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 3
              PLEASE TAKE NOTICE that on April 30, 2024, at 2:00 p.m., before the Honorable
 4
     Yvonne Gonzalez Rogers, at the United States District Court, Northern District of California,
 5
     Ronald V. Dellums Federal Building & United States Courthouse, Courtroom 1 – 4th Floor, 1301
 6
     Clay Street, Oakland, CA 94612, lead plaintiff Norfolk County Council as Administering
 7
     Authority of the Norfolk Pension Fund (“Norfolk” or “Lead Plaintiff”) will and hereby does move
 8
     for an Order pursuant to Federal Rule of Civil Procedure (“Rule”) 23: (1) granting preliminary
 9
     approval of the Settlement of the above-captioned action (the “Action”) on the terms set forth in
10
     the Stipulation1; (2) authorizing the retention of Gilardi & Co. LLC (“Gilardi”) as the administrator
11
     for the Settlement (“Claims Administrator”); (3) approving the form and manner of notice of the
12
     Settlement to the Class; and (4) setting a hearing date for final approval of the Settlement (“Final
13
     Approval Hearing”), as well as the schedule for various deadlines in connection with the
14
     Settlement.
15
              This unopposed motion is supported by the below memorandum of points and authorities
16
     and Appendix A thereto, the Stipulation and exhibits thereto (attached to the Williams
17
     Declaration), and the Declaration of Peter Crudo Regarding Notice and Administration Plan
18
     (“Crudo Declaration” or “Crudo Decl.”), filed herewith.
19
              A proposed Order Preliminarily Approving Settlement and Providing for Notice
20
     (“Preliminary Approval Order”) with annexed exhibits is also submitted herewith.
21

22

23

24
   1
       Unless otherwise defined herein, capitalized terms shall have the meaning ascribed in the
25 Stipulation of Settlement dated March 14, 2024 (“Stipulation”), a true and correct copy of which
   is attached as Exhibit 1 to the Declaration of Shawn A. Williams in Support of Lead Plaintiff’s
26 Unopposed Motion       for Preliminary Approval of Proposed Settlement (the “Williams
   Declaration”), submitted  herewith. Emphasis is added and citations are omitted throughout unless
27 otherwise noted.

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 1                               STATEMENT OF ISSUES TO BE DECIDED
 2            1.         Whether the Court will likely be able to approve the proposed $490 million

 3 Settlement of the Action under Rule 23(e)(2) so that notice of the Settlement’s terms and

 4 conditions may be provided to members of the Class (“Class Members”).

 5            2.         Whether the proposed form and content of the Notice of Pendency and Proposed

 6 Settlement of Class Action (“Notice”), Proof of Claim and Release form (“Proof of Claim” or

 7 “Claim Form”), and Summary Notice of Proposed Settlement of Class Action (“Summary

 8 Notice”), and the plan for disseminating these materials to Class Members, should be approved.

 9            3.         Whether the Court should schedule a Final Approval Hearing in connection with

10 the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s application for an

11 award of attorneys’ fees and expenses and awards to the Representative Parties pursuant to 15

12 U.S.C. §78u-4(a)(4).2

13                           MEMORANDUM OF POINTS AND AUTHORITIES
14 I.         INTRODUCTION
15            The Settling Parties have reached a proposed Settlement of this securities class action in
16 exchange for a payment of $490 million. Lead Plaintiff now requests the Court to preliminarily

17 approve this proposed Settlement, which would represent the third-largest securities class action

18 recovery in this District’s history.

19            As set forth below, the Settlement is the product of good-faith, arm’s-length negotiations

20 between experienced counsel, under the supervision of the Hon. Layn R. Phillips (Ret.) of Phillips

21 ADR (“Judge Phillips”), a highly respected mediator with extensive experience in complex

22 securities litigation. Lead Plaintiff reached the Settlement only after it had a thorough appreciation

23 of the strengths and weaknesses of the case. The Settlement is a tremendous result for the Class.

24 As detailed herein, this case has been pending for over four years, throughout which the parties’

25

26   2
      The “Representative Parties” are Lead Plaintiff Norfolk, former Lead Plaintiff the Employees’
   Retirement System of the State of Rhode Island, and City of Roseville Employees’ Retirement
27 System.

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 1 litigation efforts have been extensive, including, inter alia, motions to dismiss, fact and expert

 2 discovery, numerous discovery disputes, two rounds of class certification briefing, and summary

 3 judgment. Settlement of this case was not reached until Lead Counsel had: (i) drafted and filed a

 4 detailed Complaint; (ii) successfully overcame in part Defendants’ motions to dismiss; (iii) filed

 5 and fully briefed motions for class certification on two separate occasions supported by four expert

 6 reports; (iv) engaged in extensive written discovery; (v) took or defended 23 fact and expert

 7 depositions; (vi) litigated multiple discovery disputes; (vii) engaged experts to provide three

 8 opinion reports; (viii) successfully opposed Defendants’ motion for summary judgment; (ix)

 9 successfully excluded Defendants’ expert testimony in part; (x) negotiated pretrial orders with

10 Defendants; and (xi) participated in a lengthy mediation process with Judge Phillips which

11 extended over more than two years, culminating in a mediator’s proposal that both sides accepted.

12 Defendants have expressly denied and continue to deny that they have violated the federal

13 securities laws or any other laws, or have otherwise misled investors as alleged in this Action, but

14 in recognition that further litigation will be protracted, overly burdensome, expensive, and

15 distracting, have determined that it is desirable and beneficial for them to resolve the Action.

16            Lead Plaintiff also seeks approval of the Notice, Proof of Claim, and Summary Notice,

17 appended as Exhibits A-1, A-2, and A-3, respectively, to the Stipulation. Lead Plaintiff also seeks

18 the Court’s approval of Gilardi as Claims Administrator and the means and methods for

19 disseminating notice of the Settlement, and a finding that such notice comports with due process,

20 the Federal Rules of Civil Procedure, and the Private Securities Litigation Reform Act of 1995

21 (the “PSLRA”), 15 U.S.C. §78u-4, et seq.

22            The Settlement meets the standards for preliminary approval because it is likely this Court

23 will be able to find that the Settlement is fair, reasonable, and adequate under Rule 23(e). By

24 granting preliminary approval, Lead Plaintiff will be able to notify the Class and solicit claims,

25 requests for exclusion, and objections, at which point the Court will be able to consider whether

26 to finally approve the Settlement.

27

28 LEAD PLTF’S NOTICE OF UNOPP’D MOT AND MOTION FOR PRELIM APPROVAL OF PROP
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 1 II.        OVERVIEW OF THE LITIGATION
 2            On April 16, 2019, the first complaint in this action was filed in the United States District

 3 Court for the Northern District of California under the caption City of Roseville Employees’

 4 Retirement System v. Apple Inc., No. 4:19-cv-02033. ECF 1. On August 14, 2019, the Court

 5 appointed the Employees’ Retirement System of the State of Rhode Island (“Rhode Island”) as

 6 lead plaintiff. ECF 72. On October 15, 2019, Rhode Island filed a Consolidated and Amended

 7 Class Action Complaint for Violation of the Federal Securities Laws. ECF 85. On December 16,

 8 2019, Defendants moved to dismiss that complaint. ECF 91. On June 2, 2020, the Court issued

 9 an Order granting in part and denying in part Defendants’ motion to dismiss and ordering the

10 transition of lead plaintiff from Rhode Island to Norfolk. ECF 110. On June 19, 2020, the Court

11 issued an order appointing Norfolk as lead plaintiff and Robbins Geller Rudman & Dowd LLP

12 (“Robbins Geller”) as lead counsel. ECF 113. On June 23, 2020, Norfolk filed its Revised

13 Consolidated Class Action Complaint for Violation of the Federal Securities Laws (the

14 “Complaint”). ECF 114. The Complaint alleged, inter alia, that on November 1, 2018, Defendants

15 made materially false and misleading statements and omissions about demand for the newly-

16 released iPhones and Apple’s business in China, in violation of §§10(b) and 20(a) of the Securities

17 Exchange Act of 1934. The Complaint further alleged that the false and misleading statements

18 and omissions caused Apple’s stock to trade at artificially inflated prices, and that, when the true

19 facts were disclosed, Apple’s stock price declined.

20            Defendants moved to dismiss the Complaint on July 13, 2020. ECF 118. Norfolk opposed

21 the motion on July 27, 2020. ECF 120. On November 4, 2020, the Court issued an Order granting

22 in part and denying in part Defendants’ motion to dismiss. ECF 123.

23            On May 5, 2021, Norfolk filed its motion for class certification. ECF 165. On February

24 4, 2022, the Court issued an Order granting the motion in part, certifying a Class of purchasers or

25 acquirers of Apple common stock, and denying (without prejudice) the motion with respect to the

26 proposed class of Apple options investors. ECF 224. The Court appointed Norfolk as the Class

27 Representative, and Robbins Geller as Class Counsel. On April 15, 2022, Norfolk filed a

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 1 supplemental motion seeking certification of a class of Apple options investors. ECF 239. On

 2 March 28, 2023, the Court issued an Order Modifying Class, which granted Norfolk’s motion to

 3 certify call option buyers and put option sellers as part of the Class. ECF 352.

 4            On September 9, 2022, Defendants filed a Motion for Summary Judgment and Motion to

 5 Exclude Expert Testimony. ECF 292, 293. On September 9, 2022, Lead Plaintiff filed an

 6 Omnibus Motion to Exclude Opinion Testimony of Defendants’ Proposed Experts. ECF 301. On

 7 June 26, 2023, the Court issued an Order Denying Summary Judgment. ECF 369. On July 17,

 8 2023, the Court issued an Order denying Defendants’ Motion to Exclude and granting in part and

 9 denying in part Lead Plaintiff’s Motion to Exclude. ECF 384.

10            On February 27, 2024, the Court issued an Amended Pretrial Scheduling Order setting

11 deadlines for the parties to exchange and submit witness lists, motions in limine, proposed jury

12 instructions, and other pretrial materials, as well as setting a trial date of September 9, 2024. ECF

13 420.

14            In late 2021, the Parties first engaged the services of the Hon. Layn R. Phillips (Ret.), a

15 nationally recognized mediator, to facilitate settlement negotiations. On January 31, 2022, the

16 Parties attended a mediation session with Judge Philips held remotely via videoconference. The

17 January 31, 2022 mediation was preceded by submission of voluminous mediation statements,

18 including exhibits. The mediation did not result in a settlement.

19            On May 25, 2022, the Parties attended a second mediation session with Judge Phillips, this

20 time in person.       The May 25, 2022, mediation was also preceded by the submission of

21 supplemental mediation statements with additional exhibits and excerpts of deposition testimony

22 by each of the Parties. Again, the Parties did not reach an agreement at that mediation and litigation

23 continued.

24            Following the May 25, 2022 mediation and concurrent with the ongoing litigation, Judge

25 Phillips continued to correspond with the Parties to explore the potential for resolution of the case.

26 On January 10, 2024, the Parties engaged in another in-person mediation session with Judge

27 Phillips, but again the Parties were unable to reach a settlement. On February 14, 2024, Judge

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 1 Phillips issued a mediator’s proposal to resolve all claims alleged in the Complaint and on March

 2 1, 2024, the Parties accepted the Mediator’s proposal.

 3            The agreement to accept the Mediator’s proposal included, among other things, the Settling

 4 Parties’ agreement to settle and release all claims that were asserted or could have been asserted

 5 in the Action in return for a cash payment of $490 million for the benefit of the Class, subject to

 6 the execution of a Stipulation of Settlement and approval by the Court. The Stipulation (together

 7 with the Exhibits thereto) reflects the final and binding agreement between the Settling Parties.

 8 III.       THE SETTLEMENT TERMS
 9            This Settlement requires Defendants to pay, or cause to be paid, $490 million into the

10 Escrow Account, which amount, plus interest, comprises the Settlement Fund. Stipulation, ¶2.1.3

11 Notice to the Class and the cost of settlement administration (“Notice and Administration

12 Expenses”) will be funded by the Settlement Fund. Id., ¶2.8. Lead Plaintiff proposes a nationally

13 recognized class action settlement administrator to be retained subject to the Court’s approval.

14 Gilardi was chosen because of its experience and the quality of its work in prior engagements for

15 Lead Counsel.4 Lead Counsel respectfully requests that the Court approve its selection. Based on

16 the estimates provided by the proposed Claims Administrator, and assuming that no unexpected

17 or extraordinary issues arise, Gilardi expects notice and claims administration costs to be

18 approximately $3.6 million through the initial distribution of the Net Settlement Fund. See, e.g.,

19 Crudo Decl., ¶32. The proposed notice plan and plan for claims processing are discussed below

20 in §§IV.C.5 and V and in the Crudo Declaration.

21            The Notice and Summary Notice provide that Lead Counsel will move for final approval

22 of the Settlement and: (a) an award of attorneys’ fees in the amount of no more than 25% of the

23 Settlement Amount; (b) payment of expenses or charges resulting from the prosecution of the

24

25   3
       The first $120 million of the Settlement Amount was deposited into the Escrow Account on
   March  12, 2024. The remainder shall be funded no later than 15 calendar days from entry of the
26 Preliminary  Approval Order.
27 4 Lead Counsel retained Gilardi to provide notice of the pendency of this Action. ECF 394.

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 1 Action not in excess of $3 million; (c) interest on such fees and expenses at the same rate and for

 2 the same period as is earned by the Settlement Fund; and (d) may request an award to the

 3 Representative Parties pursuant to 15 U.S.C. §78u-4(a)(4). The Notice explains that such fees and

 4 expenses shall be paid from the Settlement Fund.

 5            Once Notice and Administration Expenses, Taxes, Tax Expenses, and Court-approved

 6 attorneys’ fees and expenses have been paid from the Settlement Fund, the remaining amount, the

 7 Net Settlement Fund, shall be distributed pursuant to the Court-approved Plan of Allocation (set

 8 forth in the Notice) to Authorized Claimants who are entitled to a distribution of at least $10.00.

 9 Any amount remaining following the distribution shall be redistributed in an economically feasible

10 manner. The Plan of Allocation treats all Class Members equitably based on the type of Apple

11 publicly traded securities transacted and the timing and amount of such purchases, acquisitions,

12 and any sales.

13            The Settling Parties have also entered into a Supplemental Agreement, which provides that

14 if prior to the Final Approval Hearing, requests for exclusion from the Class by Persons who would

15 otherwise be Class Members, but who timely and validly request exclusion from the Class, exceed

16 a certain threshold, Defendants shall have the option (but not the obligation) to terminate the

17 Settlement. Stipulation, ¶7.3. This type of agreement is standard in securities class actions and

18 has no negative impact on the fairness of the Settlement. See, e.g., Hefler v. Wells Fargo & Co.,

19 2018 WL 4207245, at *11 (N.D. Cal. Sept. 4, 2018) (“The existence of a termination option

20 triggered by the number of class members who opt out of the Settlement does not by itself render

21 the Settlement unfair.”).

22            Next, in exchange for the benefits provided under the Stipulation, Class Members will

23 release “any and all claims, demands, losses, rights, and causes of action of every nature and

24 description, including both known and Unknown Claims, whether arising under federal, state,

25 common, or foreign law, that Lead Plaintiff or any other member of the Class (i) asserted in any

26 complaint filed in the Action, or could have asserted or could in the future assert in any court or

27 forum that arise out of or relate to any of the allegations, transactions, facts, matters or occurrences,

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 1 representations or omissions involved, set forth, or referred to in any complaint filed in the Action

 2 and (ii) that relate in any way, directly or indirectly, to the purchase, acquisition, holding (by those

 3 who purchased or otherwise acquired Apple securities during the Class Period), sale or disposition

 4 of Apple securities during the Class Period.” Stipulation, ¶1.27.5 This release “is limited to claims

 5 that relate to both the complaint’s factual allegations and to the purchase or ownership of” Apple

 6 securities and therefore “ensure[s] that ‘the released claim[s] [are] based on the identical factual

 7 predicate as that underlying the claims in the settled class action.’” In re Volkswagen “Clean

 8 Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig., 2018 WL 6198311, at *5 (N.D. Cal. Nov. 28,

 9 2018) (“Volkswagen I”) (alterations in original) (quoting Hesse v. Sprint Corp., 598 F.3d 581, 590

10 (9th Cir. 2010)).

11            Lastly, under the terms of the Stipulation, Defendants have no right to the return of the

12 Settlement Fund for any reason upon the occurrence of the Effective Date. Stipulation, ¶5.12. See

13 also N.D. Cal. Guid. 1(g) (requiring the disclosure of any reversions).

14 IV.        THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY
              APPROVAL
15
              Courts recognize that public policy strongly favors settlements to resolve disputes,
16
     “‘particularly where complex class action litigation is concerned.’” In re Hyundai & Kia Fuel
17
     Econ. Litig., 926 F.3d 539, 556 (9th Cir. 2019); Young v. LG Chem Ltd., 2019 WL 4187396, at *1
18
     (9th Cir. Sept. 4, 2019) (same). Moreover, courts should defer to “the private consensual decision
19
     of the parties” to settle and advance the “‘overriding public interest in settling and quieting
20
     litigation.’” Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009); Franklin v. Kaypro
21
     Corp., 884 F.2d 1222, 1229 (9th Cir. 1989) (quoting Van Bronkhorst v. Safeco Corp., 529 F.2d
22
     943, 950 (9th Cir. 1976)).
23
              Federal Rule of Civil Procedure 23(e) requires judicial approval for the settlement of claims
24
     brought as a class action. Pursuant to Rule 23(e)(1), the issue at preliminary approval turns on
25

26   5
       “Released Claims” does not include claims relating to the enforcement of the Settlement,
   derivative  claims, or any claims of any Person that submits a request for exclusion from the Class
27 that is accepted by the Court.
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 1 whether the Court “will likely be able to: (i) approve the proposal under Rule 23(e)(2); and (ii)

 2 certify the class for purposes of judgment on the proposal.” Fed. R. Civ. P. 23(e)(1).6 Rule

 3 23(e)(2) provides that a proposed class settlement may be approved “after a hearing and only on

 4 finding that it is fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2). In making this

 5 assessment, the Court must consider whether Lead Plaintiff and Lead Counsel: (i) “have

 6 adequately represented the [C]lass;” (ii) “the proposal was negotiated at arm’s length;” (iii) “the

 7 relief provided for the [C]lass is adequate;” and (iv) “the proposal treats [C]lass [M]embers

 8 equitably relative to each other.” Id. While these Rule 23(e) factors focus on core concerns of

 9 procedure and substance of a settlement, they are not intended to fully displace factors previously

10 adopted by courts to evaluate settlements. Wong v. Arlo Techs., Inc., 2021 WL 1531171, at *5

11 (N.D. Cal. Apr. 19, 2021) (“[T]he Court applies the framework set forth in Rule 23 with guidance

12 from the Ninth Circuit’s precedent . . . .”). In this respect, the Ninth Circuit has long considered

13 the following factors when evaluating a class settlement, several of which overlap with Rule

14 23(e)(2):

15            [T]he strength of the plaintiffs’ case; the risk, expense, complexity, and likely
              duration of further litigation; the risk of maintaining class action status throughout
16            the trial; the amount offered in settlement; the extent of discovery completed and
              the stage of the proceedings; the experience and views of counsel; the presence of
17            a governmental participant; and the reaction of the class members to the proposed
              settlement.
18
     Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998).
19
              As discussed below, the proposed Settlement easily satisfies each of the factors identified
20
     under Rule 23(e)(2), as well as the applicable Ninth Circuit factors, such that notice of the proposed
21
     Settlement should be sent to the Class in advance of the Final Approval Hearing.
22
              A.         Lead Plaintiff and Its Counsel Have Adequately Represented the
23                       Class
24            Rule 23(e)(2)’s first two factors look “to the conduct of the litigation and of the negotiations

25 leading up to the proposed settlement.” Rule 23(e)(2) Advisory Committee notes to 2018

26
   6
      As to the latter requirement, the Court need not determine whether it could certify a Class here
27 because it already has certified the Class. ECF 224, 352.
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 1 amendment. This Settlement bears all of the hallmarks of a procedurally fair resolution under Rule

 2 23(e)(2).

 3            Rule 23(e)(2)(A) asks whether the plaintiff and its counsel have adequately represented the

 4 class. This factor overlaps with the Ninth Circuit’s factor regarding “the extent of discovery

 5 completed and the stage of the proceedings.” Hanlon, 150 F.3d at 1026. As explained above,

 6 Lead Plaintiff and its counsel satisfy this factor as they have diligently prosecuted this Action for

 7 over four years. See supra, §§I-II. Given Lead Plaintiff’s and Lead Counsel’s demonstrated

 8 prosecution of the Action, it is without question that they have adequately represented the Class.

 9 See In re Volkswagen “Clean Diesel” Mktg., Sales Pracs., & Prods. Liab. Litig., 2019 WL

10 2077847, at *1 (N.D. Cal. May 10, 2019) (“Volkswagen II”) (finding securities class settlement to

11 be procedurally fair where “Lead Counsel vigorously litigated this action during motion practice

12 and discovery, and the record supports the continuation of that effort during settlement

13 negotiations”); Hefler v. Wells Fargo & Co., 2018 WL 6619983, at *6 (N.D. Cal. Dec. 18, 2018),

14 aff’d sub nom. Hefler v. Pekoc, 802 F. App’x 285 (9th Cir. 2020) (granting final approval and

15 stating that at preliminary approval “the Court found that Class Counsel had vigorously prosecuted

16 this action through dispositive motion practice, extensive initial discovery, and formal mediation”

17 and that “given this prosecution of the action, counsel ‘possessed “sufficient information to make

18 an informed decision about settlement”’”).

19            Similarly, the Ninth Circuit tasks trial courts with resolving two questions to determine

20 “legal adequacy: (1) do the named plaintiffs and their counsel have any conflicts of interest with

21 other class members and (2) will the named plaintiffs and their counsel prosecute the action

22 vigorously on behalf of the class?” Hanlon, 150 F.3d at 1020. The Court previously found Lead

23 Plaintiff Norfolk and Lead Counsel adequate to represent the Class, and no evidence to the contrary

24 has since emerged. ECF 224 at 21. Moreover, Lead Plaintiff and Lead Counsel have no interests

25 antagonistic to other Class Members; Lead Plaintiff’s claims are typical of the Class’s claims; and

26 their interest in obtaining the largest possible recovery is aligned with that of the Class. Mild v.

27 PPG Indus., Inc., 2019 WL 3345714, at *3 (C.D. Cal. July 25, 2019) (“Because Plaintiff’s claims

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 1 are typical of and coextensive with the claims of the Settlement Class, his interest in obtaining the

 2 largest possible recovery is aligned with the interests of the rest of the Settlement Class

 3 members.”). Finally, the substantial monetary recovery obtained after four years of litigation

 4 preceding the Settlement speaks for itself and is an excellent result for Lead Plaintiff and the Class.

 5            B.         The Proposed Settlement Is the Result of Good Faith, Arm’s-Length
                         Negotiations by Informed, Experienced Counsel Who Were Aware of
 6                       the Risks of the Action
 7            The Rule 23(e)(2)(B) factor asks whether “the [settlement] proposal was negotiated at

 8 arm’s length.” Fed. R. Civ. P. 23(e)(2)(B). As noted above, the proposed Settlement follows

 9 extensive litigation over the course of over four years, and trial is scheduled to begin in September

10 2024. ECF 420. See Volkswagen I, 2018 WL 6198311, at *5 (“Having used discovery and motion

11 practice to obtain information about the case, Plaintiffs were able to assess the merits of the claims

12 and to determine whether Defendants’ settlement offers were reasonable.”). The Settlement was

13 achieved only after the parties engaged in a protracted mediation process before Judge Phillips,

14 which included both remote and in person mediation and conferences over the course of more than

15 two years, resulting in a $490 million mediator’s proposal. As part of the settlement discussions,

16 Lead Counsel and Defendants’ Counsel prepared and presented submissions concerning their

17 respective views on the merits of the Action. See Volkswagen II, 2019 WL 2077847, at *1 (“Lead

18 Counsel also attests that both sides engaged in a series of intensive, arm’s-length negotiations

19 before they reached an agreement in principle to settle. . . . There is no reason to doubt the veracity

20 of Lead Counsel’s representations.”). The foregoing evinces that the Settlement is “the product of

21 serious, informed, and noncollusive negotiations.” Volkswagen I, 2018 WL 6198311, at *4-*5.

22 See also Hefler, 2018 WL 6619983, at *6 (“[T]he Settlement was the product of arm’s length

23 negotiations through two full-day mediation sessions and multiple follow-up calls supervised by

24 former U.S. District Judge Layn Phillips.”); In re Atmel Corp. Deriv. Litig., 2010 WL 9525643, at

25 *13 (N.D. Cal. Mar. 31, 2010) (“Judge Phillips’ participation weighs considerably against any

26 inference of a collusive settlement.”); Abadilla v. Precigen, Inc., 2023 WL 7305053, at *3 (N.D.

27 Cal. Nov. 6, 2023) (noting that preliminary approval granted because, inter alia, “the [Settlement

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 1 Agreement] resulted from good faith, arm’s length negotiations conducted under the auspices of

 2 an independent mediator, the Hon. Layn Phillips (U.S.D.J., ret.), who has extensive experience in

 3 mediating class action litigations of this type”).

 4            C.         The Relief Provided to the Class Is Adequate
 5                       1.    The Substantial Benefits for the Class, Weighed Against the
                               Costs, Risks, and Delay of Further Litigation, Support
 6                             Preliminary Approval
 7            Rule 23(e)(2)(C)(i) and the Ninth Circuit’s factors concerning the “strength of the

 8 plaintiffs’ case; the risk, expense, complexity, and likely duration of further litigation”; and “the

 9 amount offered in settlement” (Hanlon, 150 F.3d at 1026) are also satisfied because the $490

10 million recovery provides a significant and immediate benefit to the Class, especially in light of

11 the costs, risks, and delay posed by continued litigation. Securities cases, like the present one,

12 “‘are highly complex and . . . securities class litigation is notably difficult and notoriously

13 uncertain.’” Hefler, 2018 WL 6619983, at *13.

14            While Lead Plaintiff remains confident in its ability to ultimately prove the alleged claims

15 on a level playing field, further litigation – including a trial – is always a risky proposition. See,

16 e.g., Salazar v. Midwest Servicing Grp., Inc., 2018 WL 3031503, at *6 (C.D. Cal. June 4, 2018)

17 (A “[s]ettlement [a]greement’s elimination of risk, delay, and further expenses weighs in favor of

18 approval.”). Further, complex securities fraud class actions such as this one present myriad risks

19 that a plaintiff must overcome in order to ultimately secure a recovery. See, e.g., Redwen v. Sino

20 Clean Energy, Inc., 2013 WL 12129279, at *5 (C.D. Cal. Mar. 13, 2013) (“Courts experienced

21 with securities fraud litigation ‘“routinely recognize that securities class actions present hurdles to

22 proving liability that are difficult for plaintiffs to clear.”’”).

23            While Lead Plaintiff would be required to prove all elements of its claims to prevail,

24 Defendants need only succeed on one defense to potentially defeat the entire Action. Risks of

25 proving falsity, materiality, scienter, and recoverable damages present significant obstacles to

26 Lead Plaintiff’s success at trial. See, e.g., In re Celera Corp. Sec. Litig., 2015 WL 1482303, at *5

27 (N.D. Cal. Mar. 31, 2015) (“As with any securities litigation case, it would be difficult for Lead

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 1 Plaintiff to prove loss causation and damages at trial. . . . Lead Plaintiff would risk recovering

 2 nothing without a settlement.”); Luna v. Marvell Tech. Grp., 2018 WL 1900150, at *3 (N.D. Cal.

 3 Apr. 20, 2018) (noting the risks of proving scienter, loss causation, and damages at trial). The

 4 risks are significant and real. See, e.g., In re Tesla, Inc. Sec. Litig., No. 3:18-cv-04865-EMC (N.D.

 5 Cal. 2023) (jury finding defendants not liable for securities fraud notwithstanding district judge

 6 granting plaintiffs’ offensive motion for summary judgment on falsity and knowledge elements).

 7 Here, Defendants advanced several arguments disputing both liability and damages. For example,

 8 Defendants vigorously disputed that Defendant Cook’s alleged false statement conveyed

 9 information about the current state of Apple’s business in China, as opposed to historical

10 information. And, even if Defendant Cook had not disclosed information concerning negative

11 performance in China, the incorporation of that same information into Apple’s guidance negated

12 an inference of scienter. See In re Immune Response Sec. Litig., 497 F. Supp. 2d 1166, 1172 (S.D.

13 Cal. 2007) (“[T]he issue[] of scienter . . . [is] complex and difficult to establish at trial.”).

14 Defendants also challenged Lead Plaintiff’s theory of loss causation and damages. Defendants

15 and their experts argued that the price declines in Apple stock were not caused by revelations

16 concerning previously undisclosed conditions in China as plaintiffs alleged, but instead the key

17 price decline was caused by the fact that Apple missed its Q1'19 revenue guidance. See In re

18 Zynga Inc. Sec. Litig., 2015 WL 6471171, at *9 (N.D. Cal. Oct. 27, 2015) (“[I]n ‘any securities

19 litigation case, it [is] difficult for [plaintiff] to prove loss causation and damages at trial.’”).

20 Moreover, the fact that Defendants engaged competing expert witnesses to testify in support of

21 Defendants’ major defenses, was a substantial obstacle to Lead Plaintiff’s potential for success at

22 trial. See, e.g., Weeks v. Kellogg Co., 2013 WL 6531177, at *13 (C.D. Cal. Nov. 23, 2013) (“The

23 fact that this issue, which is at the heart of plaintiffs’ case, would have been the subject of

24 competing expert testimony suggests that plaintiffs’ ability to prove liability was somewhat

25 unclear; this favors a finding that the settlement is fair.”).

26            Barring the Settlement, this case would require the expenditure of substantial additional

27 sums of time and money at trial and beyond, with no guarantee that any additional benefit would

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 1 be provided to the Class. Even if Lead Plaintiff prevailed at the liability and damages phases of

 2 the trial, Defendants would almost certainly file an appeal after either or both phases of the case –

 3 a process that would further extend the litigation for several additional years and risk reversal of

 4 any verdict in favor of the Class. Conversely, the Settlement confers a substantial and immediate

 5 benefit on the Class, and avoids the risks of no recovery at all associated with attempting to obtain

 6 a wholly speculative (though potentially larger) sum in the future.

 7            In sum, Defendants had “plausible defenses that could have ultimately left class members

 8 with a reduced or non-existent recovery,” which weighs in favor of approving the Settlement. In

 9 re TracFone Unlimited Serv. Plan Litig., 112 F. Supp. 3d 993, 999 (N.D. Cal. 2015). Defendants

10 have denied any wrongdoing, and would have presented a multi-pronged defense to Lead

11 Plaintiff’s claims at trial and in subsequent appeals. Although Defendants’ arguments regarding

12 falsity, scienter, and loss causation were rejected by the Court at summary judgment, Defendants

13 would undoubtedly raise them again before the jury, creating a risk that a lesser recovery – or no

14 recovery at all – would be obtained at trial. Settlement is favored where, as here, the case is

15 “‘complex and likely to be expensive and lengthy to try,’” and presents numerous risks beyond the

16 “‘inherent risks of litigation.’” Low v. Trump Univ., LLC, 246 F. Supp. 3d 1295, 1301 (S.D. Cal.

17 2017), aff’d, 881 F.3d 1111 (9th Cir. 2018) (quoting Rodriguez, 563 F.3d at 966, and Torrisi v.

18 Tucson Elec. Power Co., 8 F.3d 1370, 1376 (9th Cir. 1993)); Volkswagen II, 2019 WL 2077847,

19 at *2 (“[E]ven if Plaintiffs had prevailed, their recovery – after class certification, trial, and appeals

20 – would have come years in the future. Taking $48 million now, instead of holding out for the

21 chance of $147 million at some point in the future, is a sensible decision.”).

22            The $490 million Settlement balances the risks, costs, and delay inherent in complex cases

23 evenly with respect to all parties. Lead Plaintiff secured the third-largest securities class action

24 settlement in the history of this District. The recovery represents more than 20% of estimated

25 recoverable common stock damages as calculated by Lead Plaintiff’s expert. This far exceeds the

26 median percentage recovery for cases settled in 2023 (and between 2014 and 2022) with estimated

27 damages of $1 billion or more. Laarni T. Bulan and Laura E. Simmons, Securities Class Action

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 1 Settlements – 2023 Review and Analysis, at 6, fig. 5 (Cornerstone Research 2024) (finding median

 2 settlement as a percentage of damages was for Rule 10b-5 cases involving cases involving over $1

 3 billion in estimated damages was 2.0% in 2023, and 2.6% between 2014 and 2022). See Fleming

 4 v. Impax Lab’ys Inc., 2022 WL 2789496, at *6 (N.D. Cal. July 15, 2022) (“‘the median settlement

 5 recovery from 2009 to 2017 was only five percent of damages in securities class actions’”)

 6 (quoting Volkswagen II, 2019 WL 2077847, at *2 n.2); see also Hefler, 2018 WL 6619983, at *6

 7 (“[C]ounsel’s preliminary approval motion included information regarding the settlement

 8 outcomes of similar cases, further indicating that counsel ‘had an adequate information base’ when

 9 negotiating the settlement.”).

10            Thus, the benefits created by the Settlement weigh heavily in favor of granting the motion

11 for preliminary approval. Considering the risks of continued litigation and the time and expense

12 that would be incurred to prosecute the Action through trial, the $490 million Settlement is an

13 outstanding recovery that is in the Class’s best interests.

14                       2.   The Proposed Method for Distributing Relief Is Effective
15            As demonstrated below in §V and in the Crudo Declaration, the methods of proposed notice

16 and claims administration process (Rule 23(e)(2)(C)(ii)) are effective. The notice plan includes

17 direct mail notice to all those who can be identified with reasonable effort, supplemented by

18 publication of the Summary Notice in The Wall Street Journal and over a national newswire

19 service. In addition, a Settlement-specific website will be created where key documents will be

20 posted, including the Stipulation, Notice, Proof of Claim, and Preliminary Approval Order. Crudo

21 Decl., ¶¶6-21. This is similar to the notice plan proposed and approved in Vataj v. Johnson, 2021

22 WL 1550478, at *3, *11-*12 (N.D. Cal. Apr. 20, 2021).

23            The claims process is also effective and includes a standard Proof of Claim form that

24 requests the information necessary to calculate a Claimant’s claim amount pursuant to the Plan of

25 Allocation (“Plan”). The Plan will govern how Class Members’ claims will be calculated and,

26 ultimately, how money will be distributed to Authorized Claimants. The Plan was prepared with

27 the assistance of Lead Plaintiff’s damages expert and is based primarily on the expert’s estimation

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 1 of the amount of artificial inflation in the prices of Apple common stock and call options, and

 2 artificial deflation in Apple put options during the Class Period. A thorough claim review process,

 3 including how deficiencies are addressed, is also explained in the Crudo Declaration. Id., ¶¶28-

 4 30.

 5                       3.   Attorneys’ Fees
 6            Rule 23(e)(2)(C)(iii) addresses “the terms of any proposed award of attorney’s fees,

 7 including timing of payment.” Fed. R. Civ. P. 23(e)(2)(C)(iii). As discussed above (supra §III),

 8 Lead Counsel intends to seek an award of attorneys’ fees on behalf of all Plaintiffs’ Counsel not

 9 to exceed 25% of the Settlement Amount and expenses in an amount not to exceed $3 million, plus

10 interest on both amounts.7 This fee request reflects the successful result achieved for the Class,

11 and falls within the 25% “benchmark award for attorney fees.” Hanlon, 150 F.3d at 1029. In

12 addition, Lead Counsel will request that any award of fees and expenses be paid at the time the

13 Court makes its award. See In re Vocera Commc’ns, Inc. Sec. Litig., 2016 WL 8201593, at *1

14 (N.D. Cal. July 29, 2016) (fees to be paid “immediately upon entry of this Order”). Plaintiffs’

15 Counsel’s lodestar to date is approximately $27 million, further reaffirming the reasonableness of

16 the requested attorney’s fees.

17            Finally, the Representative Parties may seek an award of no more than $73,000 in the
18 aggregate pursuant to 15 U.S.C. §78u-4(a)(4), as reimbursement for their costs and expenses or

19 lost wages related to their efforts on behalf of the Class. “Under the PSLRA, a class representative

20 may seek an award of reasonable costs and expenses, including lost wages, directly relating to the

21 representation of the class.” Fleming, 2022 WL 2789496, at *10. This amount is fully supported

22 by the effort and time expended by Representative Parties throughout the Action, which will be

23 set forth in greater detail in connection with Lead Counsel’s fee and expense motion.

24

25

26   7
       If preliminary approval is granted, Plaintiffs’ Counsel will present their total lodestar in
   connection  with their fee application at the final approval stage, after further detailed review and
27 adjustment of their contemporaneous daily time entries to account for billing judgment.
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 1            Approval of the requested attorneys’ fee and expense application is separate from approval

 2 of the Settlement, and the Settlement may not be terminated based on any ruling with respect to

 3 attorneys’ fees. Stipulation, ¶6.3.

 4                       4.   Other Agreements Between the Parties
 5            The Parties have entered into a standard supplemental agreement which provides that if

 6 Class Members opt out of the Settlement such that the requests for exclusion from the Class equals

 7 or exceeds an agreed-upon threshold, Defendants shall have the option to terminate the Settlement.

 8 Stipulation, ¶7.3. Such agreements are common and do not undermine the propriety of the

 9 Settlement. See, e.g., Hefler, 2018 WL 6619983, at *7 (“The existence of a termination option

10 triggered by the number of class members who opt out of the Settlement does not by itself render

11 the Settlement unfair.”). While the Supplemental Agreement is identified in the Stipulation, ¶7.3,

12 and the nature of the agreement is explained in the Stipulation and here, the terms are properly

13 kept confidential.8

14                       5.   The Proposed Plan of Allocation Is Designed to Treat Class
                              Members Equitably
15
              Rule 23(e)(2)(D) asks whether the proposal, here the Plan of Allocation, treats Class
16
     Members equitably relative to each other. Drafted with the assistance of Lead Plaintiff’s damages
17
     expert, the Plan is fair, reasonable, and adequate because it does not treat Lead Plaintiff or any
18
     other Class Member preferentially. See Vataj, 2021 WL 1550478, at *10; Zynga, 2015 WL
19
     6471171, at *10.
20
              The Plan, set forth in the Notice (Stipulation, Ex. A-1 at 12-18), is designed to equitably
21
     distribute the Net Settlement Fund (see Stipulation, ¶1.19) to those Class Members who suffered
22
     economic losses as a proximate result of the alleged wrongdoing. In developing the Plan, Lead
23
     Counsel, along with Lead Plaintiff’s damages expert, calculated the potential amount of estimated
24

25
   8
26 wasIn  re Online DVD-Rental Antitrust Litig., 779 F.3d 934, 948 (9th Cir. 2015) (finding settlement
        not rendered unfair by the inclusion of an opt-out provision where “[o]nly the exact threshold,
27 for practical reasons, was kept confidential”); Spann v. J.C. Penney Corp., 314 F.R.D. 312, 329-
   30 (C.D. Cal. 2016) (considering confidential supplemental agreement).
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 1 alleged artificial inflation (or deflation, in the case of Apple put options) in Apple publicly traded

 2 securities proximately caused by Defendants’ alleged false and misleading statements and material

 3 omissions. Based on the formula in the Plan, a “Recognized Loss Amount” will be calculated for

 4 each transaction in Apple publicly traded securities. The Net Settlement Fund will be distributed

 5 to Authorized Claimants on a pro rata basis based on the type of security transacted and the relative

 6 size of their Recognized Claims. The amount of the payment will depend on, among other factors,

 7 how many Class Members file valid claims and the aggregate value of the Recognized Claims

 8 represented by valid and acceptable Proofs of Claim.

 9            Lead Plaintiff, just like all other Class Members, will be subject to the same formula for

10 distribution of the Settlement. See Ciuffitelli v. Deloitte & Touche LLP, 2019 WL 1441634, at *18

11 (D. Or. Mar. 19, 2019) (finding “[t]he Proposed Settlement does not provide preferential treatment

12 to Plaintiffs or segments of the class” where “the proposed Plan of Allocation compensates all

13 Class Members and Class Representatives equally in that they will receive a pro rata distribution

14 of the Settlement Fund based on their net losses”). Courts have previously found plans that award

15 pro rata shares to each class member to be fair and reasonable. See, e.g., Vataj, 2021 WL 1550478,

16 at *10 (“The Settlement Fund will thus be distributed on a pro rata basis according to each class

17 member’s recognized loss.”); In re Resistors Antitrust Litig., 2020 WL 2791922, at *2 (N.D. Cal.

18 Mar. 24, 2020) (approving plan of allocation using pro rata basis of distribution). Accordingly,

19 the Plan is fair, reasonable, and applies in an equitable manner to all Class Members.

20            D.         The Remaining Ninth Circuit Factors Are Satisfied
21                       1.    Risk of Maintaining Class Action Status Through Trial
22            Although Lead Plaintiff obtained class certification, it nonetheless faced the risk of

23 decertification prior to trial. See, e.g., Fleming, 2022 WL 2789496, at *6 (“[T]here is always a

24 risk of decertification – especially when, as here, Plaintiffs must overcome causation and damages

25 defenses.”). Accordingly, this factor supports preliminary approval.

26

27

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 1                       2.   Experience and Views of Counsel
 2            The opinion of experienced counsel supporting a class settlement after arm’s-length

 3 negotiations is entitled to considerable weight. Norris v. Mazzola, 2017 WL 6493091, at *8 (N.D.

 4 Cal. Dec. 19, 2017). “[I]ndeed a presumption of fairness is usually appropriate if class counsel

 5 recommends the settlement after arm’s-length bargaining.” Volkswagen I, 2018 WL 6198311,

 6 at *5.      Lead Counsel here has significant experience prosecuting and resolving significant

 7 securities and other complex class-action litigation. See www.rgrdlaw.com. And by the time

 8 settlement discussions began, Lead Counsel had a firm understanding of the strengths and

 9 weaknesses of the claims, both factually and legally. Supra, §§I-II. “There is nothing to counter

10 the presumption that Lead Counsel’s recommendation is reasonable.” In re Omnivision Techs.,

11 Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008).

12            In sum, each factor identified under Rule 23(e)(2) and by the Ninth Circuit is satisfied.

13 Given the litigation risks involved, the complexity of the underlying issues, and the skill of defense

14 counsel, the $490 million recovery is significant. It could not have been achieved without the full

15 commitment by Lead Plaintiff and its counsel. The Settlement is fair, adequate, and reasonable,

16 such that notice should be sent to the Class.

17 V.         THE PROPOSED FORMS AND METHOD OF PROVIDING NOTICE TO
              THE CLASS ARE APPROPRIATE AND SATISFY FED. R. CIV. P. 23,
18            THE PSLRA, AND DUE PROCESS
19            Rule 23(c)(2)(B) requires that notice of a settlement be “the best notice that is practicable

20 under the circumstances, including individual notice to all members who can be identified through

21 reasonable effort.”        See also Fed. R. Civ. P. 23(e)(1).     Courts evaluating proposed notice

22 documents have held that “‘[n]otice is satisfactory if it “generally describes the terms of the

23 settlement in sufficient detail to alert those with adverse viewpoints to investigate and to come

24 forward and be heard.’’” Rodriguez, 563 F.3d at 962.

25            Here, the Settling Parties propose to send, by email or first class mail, postage prepaid,

26 individual copies of the Summary Notice to all potential Class Members who can reasonably be

27 identified and located. Crudo Decl., ¶8; Preliminary Approval Order, ¶7. In addition, the

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 1 Summary Notice will be published in The Wall Street Journal and over a national newswire

 2 service. Preliminary Approval Order, ¶8. The proposed methods of providing notice satisfy the

 3 requirements of Rule 23, the PSLRA, and due process. See In re MGM Mirage Sec. Litig., 708 F.

 4 App’x 894, 896 (9th Cir. 2017). The proposed full-length Notice, which will be placed on the

 5 Settlement website, and will be available from the Claims Administrator upon request, provides

 6 detailed information in plain English.9 The content of the proposed Notice and Summary Notice

 7 are “reasonably calculated, under all the circumstances, to apprise interested parties of the

 8 pendency of the action and afford them an opportunity to present their objections.” Mullane v.

 9 Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950).

10            Also, Rule 23(h)(1) requires that “[n]otice of the motion [for attorneys’ fees] must be

11 served on all parties and, for motions by class counsel, directed to class members in a reasonable

12 manner.” Fed. R. Civ. P. 23(h)(1). The proposed Notice and Summary Notice satisfy this

13 requirement, as they notify Class Members that Lead Counsel will apply to the Court for an award

14 of attorneys’ fees not to exceed 25% of the Settlement Amount and litigation expenses not to

15 exceed $3 million to be paid from the Settlement Fund.

16            In sum, the notice program proposed in connection with the Settlement and the form and

17 content of the Notice and Summary Notice satisfy all applicable requirements of both the Federal

18 Rules of Civil Procedure and the PSLRA. Accordingly, the Court should also approve the

19 proposed form and method of giving notice to the Class.

20 VI.        NORTHERN DISTRICT OF CALIFORNIA PROCEDURAL GUIDANCE
21            The Procedural Guidance for class action settlements has been satisfied and weighs in

22 favor of approving the Settlement. See Appendix A.

23
   9
       The Notice describes the proposed Settlement and sets forth, among other things: (i) the nature,
24 history, and status of the Action; (ii) the definition of the Class and who is excluded; (iii) the
   reasons  the parties have proposed the Settlement; (iv) the amount of the Settlement Fund; (v) the
25 estimated average   distribution per damaged security; (vi) the Class’s claims and issues; (vii) the
26 and expenses that Leadover
   parties’ disagreement         damages and liability; (viii) the maximum amount of attorneys’ fees
                             Counsel intends to seek in connection with final Settlement approval; (ix)
27 the plan for allocating the Settlement proceeds to the Class; and (x) the date, time, and place of the
   Final Approval Hearing.
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 1 VII.       CONCLUSION
 2            For each of the foregoing reasons, the Court should enter the [Proposed] Order

 3 Preliminarily Approving Settlement and Providing for Notice, which: (i) preliminarily approves

 4 the Settlement; (ii) approves the form and manner of providing notice of pendency and Settlement

 5 to the Class; and (iii) sets a Final Approval Hearing date to consider final approval of the

 6 Settlement and related matters.

 7    DATED: March 15, 2024                    Respectfully submitted,

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                                                 & DOWD LLP
 9                                             SHAWN A. WILLIAMS
                                               DANIEL J. PFEFFERBAUM
10                                             KENNETH J. BLACK
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13                                                           s/ Shawn A. Williams
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                                               Lead Counsel for Lead Plaintiff
27

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11
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 1                                                APPENDIX A
 2                   (Compliance with Procedural Guidance of Northern District of California)
 3            A.         Guidance 1: Information about the Settlement
 4                       1.     Guidance 1(a): Any differences between the settlement class
                                and the class proposed in the operative complaint (or, if a class
 5                              has been certified, the certified class) and an explanation as to
                                why the differences are appropriate.
 6
              N/A
 7
                         2.     Guidance 1(b): Any differences between the claims to be
 8                              released and the claims in the operative complaint (or, if a class
                                has been certified, the claims certified for class treatment) and
 9                              an explanation as to why the differences are appropriate.
10            The claims being released closely track the claims alleged. The Complaint alleges federal

11 securities law claims based on material misrepresentations and omissions by Defendants in

12 connection with the purchase or acquisition of Apple publicly traded securities. The definition of

13 “Released Claims” is properly limited to claims, demands, losses, rights, and causes of action of

14 every nature and description, including both known and Unknown Claims, whether arising under

15 federal, state, common, or foreign law, that Lead Plaintiff or any other member of the Class (i)

16 asserted in any complaint filed in the Action, or could have asserted or could in the future asset in

17 any court or forum that arise out of or relate to any of the allegations, transactions, facts, matters

18 or occurrences, representations or omissions involved, set forth, or referred to in any complaint

19 filed in the Action and (ii) that relate in any way, directly or indirectly, to the purchase, acquisition,

20 holding (by those who purchased or otherwise acquired Apple securities during the Class Period),

21 sale or disposition of Apple securities during the Class Period. Stipulation, ¶1.27.

22                       3.     Guidance 1(c): The class recovery under the settlement
                                (including details about and the value of injunctive relief), the
23                              potential class recovery if plaintiffs had fully prevailed on each
                                of their claims, claim by claim, and a justification of the
24                              discount applied to the claims.
25            The Class will receive $490 million in cash, less approved fees and expenses, through the

26 Settlement.           As set forth in the attached supporting memorandum (“Preliminary Approval

27 Memorandum”), had Lead Plaintiff fully prevailed on its claims, common stock damages would

28 be approximately $2.1 billion. There are many factors that contributed to Lead Plaintiff’s
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 1 acceptance of a discount to that damages value, which are more fully explained in §IV.C.1 of the

 2 Preliminary Approval Memorandum.

 3                       4.   Guidance 1(d): Any other cases that will be affected by the
                              settlement, an explanation of what claims will be released in
 4                            those cases if the settlement is approved, the class definitions in
                              those cases, their procedural posture, whether plaintiffs’
 5                            counsel in those cases participated in the settlement
                              negotiations, a brief history of plaintiffs’ counsel’s discussions
 6                            with counsel for plaintiffs in those other cases before and
                              during the settlement negotiations, an explanation of the level
 7                            of coordination between the two groups of plaintiffs’ counsel,
                              and an explanation of the significance of those factors on
 8                            settlement approval. If there are no such cases, counsel should
                              so state.
 9
              Counsel believes there are no other cases that will be affected by the Settlement.
10
                         5.   Guidance 1(e): The proposed allocation plan for the settlement
11                            fund.
12            The proposed allocation plan is set forth in detail in the Notice of Pendency and Proposed

13 Settlement of Class Action (“Notice”) (Stipulation, Ex. A-1 at 12-18).

14                       6.   Guidance 1(f): If there is a claim form, an estimate of the
                              expected claim rate in light of the experience of the selected
15                            claims administrator and/or counsel based on comparable
                              settlements, the identity of the examples used for the estimate,
16                            and the reason for the selection of those examples.
17            This is a non-reversionary settlement in which the entire Settlement Fund will be paid out.

18 Stipulation, ¶5.12. Once the Settlement becomes final, nothing is returned to Defendants. With

19 respect to the number of class members, as well as their identities, these are unknown in securities

20 cases. See Vataj v. Johnson, 2021 WL 1550478, at *11 (N.D. Cal. Apr. 20, 2021) (“The Court

21 understands that the majority of class members are likely beneficial purchasers whose securities

22 were purchased by brokerage firms, banks, institutions, and other third-party nominees in the name

23 of the nominee, on behalf of the beneficial purchaser.”). Because the number and identity of class

24 members is unknown, both the number and percentage of class members expected to file claims is

25 unknown. Indeed, the number of claims varies widely from case to case as does the size of each

26 claim. In a securities class action settlement, class member participation is determined by the

27 number of damaged shares (shares affected by the inflation caused by the alleged omissions and

28 scheme) represented by the claims submitted. This more accurately reflects how much of the Class
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 1 is seeking to participate in the Settlement. Consistent with its experience in securities class actions,

 2 and based on the effectiveness of the proposed notice plan, Lead Counsel anticipates that the vast

 3 majority of damaged shares will be represented by the claims submitted in this Action.

 4                       7.    Guidance 1(g): In light of Ninth Circuit case law disfavoring
                               reversions, whether and under what circumstances money
 5                             originally designated for class recovery will revert to any
                               defendant, the expected and potential amount of any such
 6                             reversion, and an explanation as to why a reversion is
                               appropriate.
 7
              The Settlement is non-reversionary; there will be no reversions. Stipulation, ¶5.12.
 8
              B.         Guidance 2: Settlement Administration
 9
                               a.     Guidance 2(a): Identify the proposed settlement
10                                    administrator, the settlement administrator selection
                                      process, how many settlement administrators submitted
11                                    proposals, what methods of notice and claims payment
                                      were proposed, and the lead class counsel’s firms’
12                                    history of engagements with the settlement
                                      administrator over the last two years.
13
              Lead Plaintiff’s request to appoint Gilardi to serve as the Claims Administrator, including
14
     the reasons for Lead Counsel’s selection of Gilardi, is addressed in §III of the Preliminary
15
     Approval Memorandum. Lead Counsel states that Gilardi has been appointed as the notice or
16
     claims administrator in 49 matters where Robbins Geller was lead or co-lead counsel in the past
17
     two years. Crudo Decl., ¶7. The proposed methods of notice are addressed in §IV.C.2 of the
18
     Preliminary Approval Memorandum.
19
                               b.     Guidance 2(b): Address the settlement administrator’s
20                                    procedures for securely handling class member data
                                      (including technical, administrative, and physical
21                                    controls; retention; destruction; audits; crisis response;
                                      etc.), the settlement administrator’s acceptance of
22                                    responsibility and maintenance of insurance in case of
                                      errors, the anticipated administrative costs, the
23                                    reasonableness of those costs in relation to the value of
                                      the settlement, and who will pay the costs.
24
              Gilardi’s Information Security Policy Framework is aligned to ISO/IEC 27002:2013 which
25
     is reviewed on an annual basis and communicated to all employees through a comprehensive
26
     training program. Crudo Decl., ¶35. Gilardi maintains a number of corporate governance policies
27
     that reflect the manner in which it does business, including an employee Code of Conduct that
28
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 1 outlines the professional, responsible, and ethical guidelines that govern employee conduct. These

 2 policies are available on Gilardi’s website. Id., ¶36.

 3            C.         Guidance 3: The Proposed Notices to the Class Are Adequate
 4            As set forth in §IV.C.2 of the Preliminary Approval Memorandum, Lead Counsel believes

 5 that both the form of notice, which incorporates the substance of the suggested language from the

 6 Procedural Guidance, and the plan for disseminating the notice, satisfy Rule 23, the PSLRA, and

 7 due process.

 8            D.         Guidance 4 and 5: Opt-Outs and Objections
 9            The proposed Notice complies with Rule 23(e)(5) in that it discusses the rights Class

10 Members have concerning the Settlement. The proposed Notice includes information on a Class

11 Member’s right to: (i) request exclusion and the manner for submitting such a request; (ii) object

12 to the Settlement, or any aspect thereof, and the manner for filing an objection; and (iii) participate

13 in the Settlement and instructions on how to complete and submit a Proof of Claim form to the

14 Claims Administrator. With respect to exclusion requests, the Notice requires only the information

15 needed to opt out – the securities purchased, acquired, or sold during the Class Period. The Notice

16 also provides contact information for Lead Counsel, as well as the postal address for the Court.

17 Finally, the Notice incorporates the substance of the suggested language regarding objections from

18 the Procedural Guidance.

19            E.         Guidance 6: Attorneys’ Fees and Expenses
20            Lead Counsel’s intended request for attorneys’ fees and expenses is set forth in §IV.C.3 of

21 the Preliminary Approval Memorandum.

22            F.         Guidance 7: Service Awards
23            Representative Parties may seek an award not to exceed $73,000 in the aggregate for

24 reimbursement of their time and expenses, including lost wages, pursuant to the provisions of 15

25 U.S.C. §78u-4(a)(4).

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 1            G.         Guidance 8: Cy Pres Awardees
 2            The Settling Parties have chosen the Investor Protection Trust as the designated recipient

 3 for any de minimis balance remaining after all reallocations are completed. See Stipulation, ¶5.12.1

 4            H.         Guidance 9: Proposed Timeline
 5            Lead Plaintiff proposes the following schedule for notice, Final Approval Hearing, and

 6 related dates:

 7                            Event                               Deadline for Compliance
 8       Deadline to commence mailing the             No later than 21 calendar days following
         Summary Notice to potential Class Members entry of the Preliminary Approval Order
 9       and posting of the Notice and Proof of Claim (Preliminary Approval Order, ¶7)
         (the “Notice Date”)
10
         Publication of the Summary Notice               No later than 7 calendar days following the
11                                                       Notice Date (Preliminary Approval Order, ¶8)
         Deadline for filing papers in support of the    35 calendar days prior to the Final Approval
12       Settlement, the Plan, and application for       Hearing (Preliminary Approval Order, ¶21)
         attorneys’ fees and expenses
13
         Deadline for requests for exclusion             24 calendar days prior to the Final Approval
14                                                       Hearing (Preliminary Approval Order, ¶16)
         Deadline for objections                         21 calendar days prior to the Final Approval
15                                                       Hearing (Preliminary Approval Order, ¶18)
16       Deadline for submission of reply papers in      7 calendar days prior to the Final Approval
         support of the Settlement, the Plan, and        Hearing (Preliminary Approval Order, ¶21)
17       application for attorneys’ fees and expenses
         Proof of Claim submission deadline              90 calendar days after the Notice Date
18                                                       (Preliminary Approval Order, ¶13)
19       Date for the Final Approval Hearing             At least 100 days after entry of the
                                                         Preliminary Approval Order (Preliminary
20                                                       Approval Order, ¶2)

21

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23   1
         Founded in 1993, the Investor Protection Trust serves as an independent source of non-
     commercial investor education. See www.investorprotection.org. Pursuant to Guideline §8, the
24   Investor Protection Trust is an appropriate cy pres designee here. See, e.g., In re Capstone Turbine
     Corp. Sec. Litig., 2020 WL 7889062, at *2 (C.D. Cal. Aug. 26, 2020) (approving distribution plan
25   and ordering that “[a]t such time as Lead Counsel, in consultation with the Claims Administrator,
     determines that no additional distributions are cost-effective, then the funds will be donated to
26   Investor Protection Trust”); Hefler v. Wells Fargo & Co., 2018 WL 6619983, at *11 (N.D. Cal.
     Dec. 18, 2018)(“[T]he Court concludes that the Investor Protection Trust’s mission of educating
27   investors makes it an appropriate cy pres beneficiary.”), aff’d sub. nom. Hefler v. Pekoc, 802 F.
     App’x. 285 (9th Cir. 2020).
28
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 1            I.         Guidance 10: Class Action Fairness Act
 2            Although the CAFA statute is unclear whether notice is required in a securities class action

 3 settlement, Defendants shall provide such notice in accordance with 28 U.S.C. §1715 at their own

 4 cost.

 5            J.         Guidance 11: Comparable Outcomes
 6                   HCA 11
 7                   Karsten Schuh v. HCA Holdings, Inc., et al.
                     No. 3:11-cv-01033 (M.D. Tennessee, Nashville Division)
 8

 9
                     Total Settlement Amount                         $215,000,000.00
10                   Total Interest Income                               $853,900.48
                     Notice and Claim Packets                                 98,305
11                   Mailed/Remailed
                     Number of Packets Returned                                 2,220
12                   Undeliverable/Unable to Forward                          2.273%
                     Total Claims Submitted                                    87,071
13                                                                           89.147%
                     Total Valid Claims                                        31,528
14                                                                           36.210%
                     Opt-Outs Received                                              4
15                                                                            0.004%
                     Objections Received                                            1
16                                                                            0.001%
17                   Mean Recovery per Claimant                             $4,728.91
                     Median Recovery per                                       $49.65
18                   Claimant
                     Largest Recovery per                               $4,986,673.51
19                                                                              $10.05
                     Claimant Smallest Recovery
20                   per Claimant
                           Method of Notice        Direct Mail; Published in Investor’s
21                                                                     Business Daily
                                        and PR Newswire; DTC Legal Notice System
22                   Number of Checks Not Cashed                                 3,506
                     Value of Checks Not Cashed and                     $1,173,909.03
23                   Included in Supplemental Distribution
24                   Administrative Costs                                 $684,847.39
                     (including taxes, tax prep., etc.)
25                   Attorney Costs                                     $2,016,508.52
                     Expert Fees                                        $1,159,395.07
26                   Attorney Fees                                     $64,500,000.00
                           % of Settlement Amount                                 30%
27                         Multiplier                                             4.32
28                   Initial Distribution Date                             04/17/2017
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 1                   Residual Distribution Dates         11/08/2017; 12/21/2021
                     Cy Pres Distribution                                 $0.00
 2                   Charity                                                N/A
 3                   Distribution Completed                         08/08/2022
                     Total Amount Distributed                  $148,541,045.97
 4                   Percentage of Distribution Factor                20.299%
                     Number of Payments                                 33,746
 5                   Method of Payments                       Checks and Wires
 6                   Reverter to Defendants                              $0.00

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